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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

ALEXANDRIA DIVISION

RODOLFO JAVIER FALCON #28440- CIVIL DOCKET NO. 1:21-CV-03209
078, SEC P
Petitioner

VERSUS JUDGE DRELL
USA, MAGISTRATE JUDGE PEREZ-MONTES
Respondent

JUDGMENT

For the reasons stated in the Report and Recommendation of the Magistrate
Judge previously filed herein (ECF No. 6), noting the absence of objection thereto,
and concurring with the Magistrate Judge’s findings under the applicable law;

IT IS ORDERED that the Petition for Writ of Habeas Corpus under 28 U.S.C.
§ 2241 (ECF Nos. 1, 5) is hereby DISMISSED for lack of jurisdiction, WITH
PREJUDICE as to the jurisdictional issue and WITHOUT PREJUDICE as to the
merits of Petitioner’s claims.

THUS, DONE AND SIGNED at Alexandria, Louisiana, this SRA ay of

November 2021.

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DEE. D. DRELL
UNITED STATES DISTRICT JUDGE

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